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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

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BARBARA HANDSCHU, et al.,

                           Plaintiffs,                                        No. 71 Civ. 2203 (CSH)


             -against-


POLICE DEPARTMENT OF THE CITY OF                                              FEBRUARY 24, 2021
NEW YORK, et al.,

                          Defendants.

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                                    MEMORANDUM AND ORDER

HAIGHT, Senior District Judge:

        The Court is in receipt of a letter from Corporation Counsel (Attorney Peter G. Farrell,

Deputy Division Chief, Special Federal Litigation Division, New York City Law Department), dated

February 18, 2021, which indicates that "Defendants are not asserting any of the [applicable]

confidentiality provisions" in the Revised Handschu Guidelines (§§ VI(5)(j), (k)) with respect to the

"Third Annual CR [Civilian Representative] Report." See attached Letter from Peter G. Farrell,

Esq. (Ex. 1) (emphasis in original). The Defendants thus have "no objection to the disclosure" of

that report. Id. Accordingly, pursuant to section VI(5)(k) of the Revised Handschu Guidelines, the

Court hereby directs the Clerk to file the Third Annual Report of the Civilian Representative on the

public case docket and to serve a copy of said report by first class mail upon Class Counsel:



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       Mr. Jethro Eisenstein
       Profeta & Eisenstein
       45 Broadway
       22nd Floor
       New York, New York 10006.

 It is SO ORDERED.

 Dated: New Haven, Connecticut
        February 24, 2021



                                       /s/Charles S. Haight, Jr.
                                       CHARLES S. HAIGHT, JR.
                                       Senior United States District Judge




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